Case 9:18-cv-80176-BB Document 222 Entered on FLSD Docket 06/20/2019 Page 1 of 4

CONFIDENTIAL UNDER THE TERMS OF THE CONFIDENTIALITY AGREEMENT

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 18-cv-80176
IRA KLEIMAN,
as personal representative of
the estate of David Kleiman,
Plaintiff,
V.
CRAIG WRIGHT,

Defendant.

 

DECLARATION OF CRAIG WRIGHT
1, Craig Wright, declare under penalty of perjury under the laws of the United States of
America that the following is true and correct:

1. 1 am over the age of 18, and I am competent to testify.

nN

I give this declaration based on my personal knowledge.
3. On May 7 and 8, 2019, I met with my counsel in the United Kingdom to provide
them with additional details and clarity regarding trusts that I settled that hold or held
Bitcoin that | mined or acquired on or before December 31, 2013.

Tulip Trusts
4. 1 mined Bitcoin during the years 2009 and 2010. I mined that Bitcoin directly into
The trust was located in Panama. No formal trust documentation was executed

regarding the Bitcoin. There are no transactions related to the Bitcoin that I mined. I
Case 9:18-cv-80176-BB Document 222 Entered on FLSD Docket 06/20/2019 Page 2 of 4

CONFIDENTIAL UNDER THE TERMS OF THE CONFIDENTIALITY AGREEMENT

later transferred the encrypted files that control access to these Bitcoin in 2011, as
explained below.
5. In June of 2011, I took steps to consolidate the Bitcoin that | mined with Bitcoin
that I acquired and other assets. In October 2012, a formal trust document was
executed, creating a trust whose corpus included the Bitcoin that | mined, acquired and
would acquire in the future. The name of that trust is TulipTrust. It was formed in the
Seycelles. | refer to this trust below as Tulip Trust I.
6. While the trustee was initially David Kleiman, additional trustees were appointed
upon the execution of the formal trust document.
7. The trustees for Tulip Trust I are:
:
a. the company in the UK registered by ‘ii. which is COIN Ltd. UK. This
company was dissolved on July 4, 2017;
b. Ms Uyen Nguyen;
c. Craig Steven Wright;
d. David Kleiman;
e. Panopticrypt Pty. Ltd. (ABN a. an Australian entity now in
liquidation:
f. Savanah Ltd., a Seycelles entity; and
g. the holder of PGP key ) i _
BS | which is Satoshi Nakamoto (i.c., Craig Wright).

8. — TL have not been in touch with Ms, Nguyen since 2016, The last contact

information | have for her is as follows:

 
Case 9:18-cv-80176-BB Document 222 Entered on FLSD Docket 06/20/2019 Page 3 of 4

CONFIDENTIAL UNDER THE TERMS OF THE CONFIDENTIALITY AGREEMENT

 

9 rhe contacts at COIN were Dave Kleiman and Ms. Nguyen, who was terminated

as a director on June 1, 2016, Presently, there is no one other than myself who was a
contract person for this entity,

10, Craig Steven Wright may be contacted through Rivero Mestre LLP.

11. ‘The contact person for Panopticrypt Pty, Ltd., prior to liquidation, was Ramona
Watts. Ms. Watts may be contacted through Rivero Mestre LLP.

12, My individual point of contact for Savanah Ltd. was Denis Mayaka, whose email

13. The beneficiaries of Tulip Trust | are Wright International Investments Ltd. (IBC
| | and ‘Tulip ‘Trading Ltd, (IBC a.

14, 1am the contact person for both beneficiaries. | can be contacted through my
counsel Rivero Mestre LLP,

IS. From 2011 through 2013, I directed staff at HighSecured and Signia Enterprises
to acquire Bitcoin on the market and hold iton behalf of the Tulip Trust.

16, ‘The principals of HighSecured were arrested in 2015, The balance of Bitcoin

purchased and held remains unaccounted for
Case 9:18-cv-80176-BB Document 222 Entered on FLSD Docket 06/20/2019 Page 4 of 4

CONFIDENTIAL UNDER THE TERMS OF THE CONFIDENTIALITY AGREEMENT

17, My primary contact at HighSecured was Ritzela DeGracia. Her email address

« In attempts to locate her, | learned of the following

attempts to reach her at that phone number, however, have been met with no response.
18. In 2014, | settled a trust, also known as the Tulip Trust, in the Seychelles
(registered trust number T000712). | refer to this trust as Tulip Trust II.

19. The trustee for Tulip Trust I] is Equator Consultants AG. My contact person is

Denis Mayaka, whose contact information is: ae:
Po Mr, Mayaka prepared an organogram that documents the

trust.

20. The primary beneficiaries of Tulip Trust II are me and my wife, Ramona Watts.

21. The secondary beneficiaries of this trust are pe

22. All beneficiaries may be contacted through my attorneys, Rivero Mestre, LLP.

23. Access to the encrypted file that contains the public addresses and their associated

private keys to the Bitcoin that I mined, requires myself and a combination of trustees

referenced in Tulip Trust | to unlock based on a Shamir scheme.

I declare that the foregoing is true and correct under penalty of perjury and in
accordance with the laws of the United States of America.

This sworn declaration was signed in London on May 8, 2019.

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